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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 MIKE WORONKO,                                     Case No. 19-13449

       Plaintiffs,                                 Stephanie Dawkins Davis
 v.                                                United States District Judge

 GENERAL MOTORS, LLC,

       Defendants.

 ___________________________ /

                ORDER REGARDING MOTION TO DISMISS

      Defendant General Motors filed a Motion to Dismiss on January 24, 2020

(ECF No. 13).

      This matter is fully briefed, and the Court heard oral argument on the

Motion on July 1, 2020. Upon review of the parties’ briefing and the conclusion of

oral argument, without taking any position on the merits of the parties’ arguments,

the Court has concluded that Woronko should be afforded the opportunity to cure

any potential deficiencies by amending the complaint. Notably, Woronko has not

previously amended the complaint and suggested such an allowance both in his

briefing and during the hearing on this matter.

      Fed. R. Civ. P. 15(a)(2) states that courts should grant leave to amend a

complaint “when justice so requires.” In the Court’s view, under the present

circumstances, allowing Plaintiff to amend serves the ends of justice. Accordingly,

                                          1
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within fourteen days of today’s date, Plaintiff may file an amended complaint, in

which case this Court will deny without prejudice the currently pending Motion to

Dismiss as moot. If Woronko elects to file such an amended complaint, General

Motors must file a response within fourteen days of service of the amended

pleading. Fed. R. Civ. P. 15(a)(3). If Woronko does not file an amended

complaint, then the Court will decide the Motion to Dismiss based upon the

existing complaint. 1 Further, in light of the Court’s allowance at this juncture,

absent exceptional circumstances and subject to the standards for evaluating such a

request, the Court is unlikely to allow any subsequent amendments.

      IT IS SO ORDERED

Date: September 25, 2020                   s/Stephanie Dawkins Davis
                                           Stephanie Dawkins Davis
                                           United States District Judge




1
 If Woronko elects not to file an amended complaint and the Court rules on the
pending Motion, any dismissal may be with prejudice.

                                           2
